Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 1 of 13

United States District Court

District of Massachusetts

Jewell Weekes, individually and on
behalf of all others similarly
situated,

PlaintifE£, Civil Action No.
23-10817-NMG
v.

Cohen Cleary P.C.,

Defendant.

we eee ele ee et

MEMORANDUM & ORDER

GORTON, J.

This putative class action arises from a data breach that
purportedly exposed the personal identifiable information
(“PII”) and protected health information (“PHI”) of
representative plaintiff Jewell Weekes (“Weekes” or “plaintiff”)
to criminal cyberhackers. The complaint alleges that defendant
law firm Cohen Cleary P.C. (“Cohen Cleary” or “defendant”)

failed to safeguard plaintiff's data properly.

Pending before the Court is defendant’s motion to dismiss
(Docket No. 6). For the reasons that follow, the motion will be

allowed, in part, and denied, in part.

-1-
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 2 of 13

I. Background

Plaintiff alleges that she and the other putative class
members provided their PHI and PII to defendant law firm in
order to establish attorney-client relationships. On an
unspecified date, a cyberattack targeting defendant’s network
servers was purportedly launched by hackers. The attack enabled
hackers to gain access to the PII and PHI of plaintiff and

approximately 12,000 other individuals.

Defendant allegedly discovered the breach as early as
September, 2022 but did not inform plaintiff and other similarly
situated individuals until November, 2022. The complaint
asserts that defendant’s data security practices were inadequate
and enabled the breach to succeed. The plaintiff is not yet
aware of the motivation for the attack, the particular data
stolen, the malware used or the current impact on the security
of the subject PII and PHI. As a result, plaintiff claims that
she and others have had to take preventative measures to protect

their PII and PHI and to prevent future harms.
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 3 of 13

II. Motion to Dismiss

A. Legal Standard

To survive a motion to dismiss under Fed. R. Civ. P.
12(b) (6), the subject pleading must contain sufficient factual
matter to state a claim for relief that is actionable as a
matter of law and “plausible on its face.” Ashcroft v. Igbal,

956 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

950 U.S. 544, 570 (2007)). A claim is facially plausible if,
after accepting as true all non-conclusory factual allegations,
the court can draw the reasonable inference that the defendant

is liable for the misconduct alleged. Ocasio-Hernandez v.

Fortuno-Burset, 640 F.3d 1, 12 (lst Cir. 2011).

When rendering that determination, a court may consider
certain categories of documents extrinsic to the complaint
“without converting a motion to dismiss into a motion for

summary judgment.” Freeman v. Town of Hudson, 714 F.3d 29, 36

(lst Cir. 2013) (citing Watterson v. Page, 987 F.2d 1, 3 (lst

Cir. 1993)). For instance, a court may consider documents of
undisputed authenticity, official public records, documents
central to a plaintiff’s claim and documents that were
sufficiently referred to in the complaint. Watterson, 987 F.2d
at 3.

A court may not disregard properly pled factual allegations

in the complaint even if actual proof of those facts is

-3-
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 4 of 13

improbable. Ocasio-Hernandez, 640 F.3d at 12. Rather, the

court’s inquiry must focus on the reasonableness of the
inference of liability that the plaintiff is asking the court to

draw. Id. at 13.
B. Analysis
1. Standing
The judicial power of Article III extends only to actual
cases and controversies. U.S. Const. art. III, § 2, cl. 1. The
existence of standing goes to this Court’s subject matter

jurisdiction. See United Seniors Ass'n, Inc. v. Philip Morris

USA, 500 F.3d 19, 23 (lst Cir. 2007).

Defendant filed its motion to dismiss based only on Rule
12(b) (6) and insists it has not asserted any jurisdictional
defenses. In any event, this Court is obliged to assess its own
subject matter jurisdiction, including the existence of Article

III standing. United Seniors Ass’n 500 F.3d at 23; see also

Doyle v. Huntress, Inc., 419 F.3d 3,6 (lst Cir. 2005) (“we have

an obligation to inquire sua sponte into our jurisdiction over

the matter”).

Plaintiff contends that case law on standing in the data
breach context is in flux and that the standards for
establishing actual injury are intertwined with the merits. She
contends that the Court should wait until the summary judgment

stage to assess standing but the Court disagrees.

~4-
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 5 of 13

Standing may be intertwined with a consideration of the

merits and therefore warrant a delay in resolution, see Torres-

Negron v. J&N Records, LLC, 504 F.3d 151, 162 (lst Cir. 2007),

but defendant has not expressly challenged plaintiff's standing.
This Court will, however, presume plaintiff's factual
allegations are true and determine whether they are sufficient

to establish a cognizable injury in fact. See Toddle Inn

Franchising, LLC v. KPJ Associates, LLC, 8 F.4th 56, 61n.5 (lst

Cir. 2021).
A cognizable injury in fact involves the invasion of a

legally protected interest. Lujan v. Defenders of Wildlife, 504

U.S. 555, 560 (1992). Such an injury must be “concrete and
particularized,” that is, plaintiff must allege some harm that
she personally suffered. Id. In addition, an alleged injury
must be “actual or imminent, not conjectural or hypothetical.”
Id. Alleged future harm must be certainly impending or
substantially likely to occur; “it is not enough that the harm

might occur at some future time.” Katz v. Pershing, LLC, 672

F.3d 64, 71 (lst Cir. 2012).
Standing must also be established for each form of relief

sought. See Davis v. Fed Election Comm’n, 554 U.S. 724, 734

(2008). Here, plaintiff seeks both injunctive and monetary

relief.
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 6 of 13

a. Injunctive Relief

Plaintiff seeks several forms of injunctive relief
concerning defendant’s alleged breach of privacy and disclosure
practices.’ She asserts that injunctive relief is necessary to
prevent defendant from “continu[ing] in its failure to properly
secure the PHI/PII of Class Members.” Thus, plaintiff demands
injunctive relief to stave off bad actors from accessing and
detrimentally using her PHI and PII as a result of defendant's
allegedly substandard security practices.

Understood as an injunction to prevent future harm,
plaintiff fails to allege an imminent injury sufficient to
confer standing for the injunctive remedies sought. In Webb,
the First Circuit Court of Appeals (“First Circuit”) considered
a similar request for injunctive relief following a data breach

that exposed plaintiff’s PII to hackers. Webb v. Injured Workers

Pharmacy, LLC, 72 F.4th 365 (lst Cir. 2023). The Court found

that because bad actors had already accessed plaintiff’s PII, an
injunction would not safeguard plaintiff’s PII from future
misuse. Id. at 378.

Turning to the risk of future breaches, the Webb Court held

that it would be speculative to infer that a new hacker would

1 Plaintiff also asks this Court to order defendant to “cease and desist from
unlawful activities” which the Court takes to mean any data privacy and / or
breach disclosure practices that may fall afoul of the law.

-6-
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 7 of 13

once again gain access to plaintiff’s data. Id. While the Webb
Court noted changes made by defendant in its cybersecurity
practices, the Court did not conduct a substantive assessment of
those changes. Id. Rather, it concluded that defendant “faces
much the same risk of future cyberhacking as virtually every

holder of private data.” Id.

Here too, there are no pleadings from which this Court can
infer that the law firm will be successfully targeted by
cyberhackers. Thus, the pleadings are insufficient to establish
that plaintiff faces a certainly impending or substantial risk

that her PII will once again be exposed to hackers. See City of

Los Angeles v. Lyons, 461 U.S. 95, 109 (1983) (explaining that

plaintiff’s lack of standing rests on the “speculative nature of
his claim that he will again experience injury as the result of
([defendant’s] practice even if [it] continued.”). An injunction
here would not redress the harm caused by the current or a

future breach. See Webb, 72 F.4th at 378.

b. Monetary Relief
Whether plaintiff has established standing to be eligible
to recover monetary relief is a closer call.
In Katz, the First Circuit found that plaintiff, an
individual whose PII was subject to a data breach, lacked

standing to sue for damages where plaintiff did not allege that
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 8 of 13

her PII had yet been accessed by any unauthorized individual.

Katz v. Pershing, LLC, 672 F.3d 64, 79 (1st Cir. 2012).

Conversely, in Webb, the First Circuit held that a
plaintiff had standing to sue for damages where her PII had not
yet been misused. Webb, 72 F.4th at 374-75. The critical
distinction was that in Webb a co-plaintiff’s PII, which was
stolen in the same breach, had been used to file a fraudulent
tax return. Id. at 375-76. The misuse of the co-plaintiff’s
data “makes it likely that other portions of the stolen data
will be similarly misused.” Id. at 376. In addition, the Court
gave weight to the “high-risk” nature of the PII stolen, which
included Social Security numbers. Id.

Here, the allegations concerning the existence of actual
misuse of plaintiff’s PII or that of other victims of the data
breach are tenuous. The complaint alleges that the breach has

caused, inter alia,

(i) actual identity theft; (ii) the loss of the
opportunity of how their PHI/PII is used; (iii) the
compromise, publication, and/or theft of their
PHI/PII; (iv) out-of-pocket expenses associated with
the prevention, detection, and recovery from identity
theft, tax fraud, and/or unauthorized use of their
PHI/PII; (v) lost opportunity costs associated with
effort expended and the loss of productivity
addressing and attempting to mitigate the actual and
future consequences of the Data Breach...

While plaintiff provides little detail as to the nature of
the “actual identity theft” alleged, at the motion to dismiss

-§8-
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 9 of 13

stage the Court will accept the facts as pled. Webb makes
pellucid that both 1) actual identity theft of plaintiff’s PII
and 2) risk of future identity theft, after actual identity
theft of another individual affected by the same breach has
occurred, combined with other indicia of risk, are independent
bases to establish an Article III injury. Drawing inferences in
favor of plaintiff, both eventualities remain plausible.

Accordingly, the Court concludes that the complaint sets
forth a sufficient basis for standing with respect to
plaintiff’s claims for monetary relief.

2. Negligence

To state a claim for negligence in Massachusetts, plaintiff
must demonstrate that

defendant owed the plaintiff a duty of reasonable

care, that the defendant breached this duty, that

damage resulted, and that there was a causal relation

between the breach of the duty and the damage.

Correa v. Schoek, 98 N.E.3d 191, 198 (Mass. 2018).

Defendant asserts that the negligence claim should be
dismissed for failure to allege breach and damages plausibly.

As discussed supra, at the motion to dismiss stage, the
Court finds that plaintiff has pled a plausible injury
sufficient to satisfy Article III. The same logic supports
plaintiff’s claim for damages. The complaint alleges either

actual misuse of plaintiff’s PII or that another victim of the
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 10 of 13

breach has had his or her PII misused, along with other indicia
of imminent harm. If proven true, damages caused by the actual
misuse or efforts expended to prevent imminent misuse of

plaintiff's PII satisfy the damages requirement for negligence.

See Portier v. NEO Technology Solutions, 2019 WL 7946103, at *16

(D. Mass. Dec. 31, 2019) (citations omitted).

Defendant contends, however, that plaintiff’s negligence
claim should be dismissed because plaintiff fails to identify
specifically how defendant’s protocol and practice were
insufficient to fend off the cyberattack and notify plaintiff of
the breach. The Court disagrees. While plaintiff’s theory of
breach is quite vague, allegations that defendant failed to
encrypt plaintiff's data effectively, store plaintiff’s data, or
learn of the breach and waited for more than one month to notify
plaintiff of the data breach, are sufficient to satisfy the
plausibility standard.

Finally, the Court notes that defendant did not
substantially address the existence of a duty in its memorandum
in support of its motion to dismiss. See Docket No. 7, at 4
(“[t]o state a negligence claim, a plaintiff must plead duty,
breach, causation, and damages. In this case, Plaintiff fails to
allege: (1) a breach by Cohen Cleary; and (2) cognizable
damages.”) (internal citation omitted). Accordingly, the Court

will not elaborate on the question of duty but will note that

-10-
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 11 of 13

other sessions of this Court have found a duty to protect PII
from foreseeable cyberattacks in the data breach context. See

Portier v. NEO Tech. Solutions, 2019 WL 7946103, at *12-13 (D.

Mass. Dec. 31, 2019); Webb v. Injured Workers Pharmacy, LLC,

2023 WL 5938606, at *2 (D. Mass. Sep. 12, 2023) (“Webb II”).
3. Breach of Confidence

Defendant asserts that plaintiff cannot plausibly set forth
a claim for breach of confidence. That is because she does not
allege that defendant intentionally disclosed confidential
information to third parties but rather, bad actors breached
defendant’s data security systems leading to the exposure of her
PII. The Court agrees. Where defendant did not “improperly
disclose[] information that it knew was confidential,” a breach

of confidence claim is not viable. See Shaoguang Li v. Off. of

Transcription Servs., 2016 WL 6609796, at *1 (Mass. App. Ct.

Nov. 8, 2016). Count II will be dismissed.
4. Implied Contract
In Massachusetts, a valid contract requires offer,

acceptance and consideration. See Josef Gartner USA LP v.

Consigli Const. Co., Inec., 2011 WL 2417137, at *4 (D. Mass. Jun.

10, 2011).
An implied contract requires the same elements as a
contract except that the manifestation of mutual assent may be

found to exist from the conduct and relationship of the parties

-11-
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 12 of 13

Durbeck v. Suffolk Univ., 547 F. Supp. 3d 133, 145 (D. Mass.

2021) (citing Squeri v. Mount Ida Coll., 954 F.3d 56, 71 (1st

Cir. 2020)). Plaintiff must state with “substantial certainty”
the facts that demonstrate the existence of a contract and its
legal effect. Id. (quoting Squeri, 954 F.3d at 71).

Defendant contends that the Complaint does not sufficiently
allege either mutual assent or the existence of consideration to
state a plausible claim for breach of implied contract. The
Court agrees that mutual assent cannot be sufficiently inferred
from the parties’ conduct and relationship.

Plaintiff alleges that defendant law firm required her to
disclose PII and PHI as a condition of its representation. She
makes no allegation, however, that either party ever discussed
the manner of safeguarding the PII and PHI or that plaintiff had
a particular concern about disclosing that information. The
Complaint does not explain how an implied contractual
relationship formed from the particular conduct of the parties.
Indeed, the vast majority of commercial transactions today
require the disclosure of PII. Plaintiff's allegations
supporting an implied contract claim are conclusory as to the
necessary element of mutual assent and thus, are insufficient to

Support an implied contract claim. See Webb II, 2023 WL 5938606,

at *3 (D. Mass. Sep. 12, 2023) (rejecting a breach of implied

contract claim in data breach context).

-12-
Case 1:23-cv-10817-NMG Document 30 Filed 03/15/24 Page 13 of 13

5. Implied Covenant of Good Faith and Fair Dealing
In Massachusetts, a covenant of good faith and fair dealing

is implicit in every contract. See Hopkinton Friendly Serv.,

Inc. v. Global Cos. LLC, 490 F. Supp. 3d 421, 427 (D. Mass.

2020). As defendant asserts, however, the covenant does not

give rise to an independent cause of action. See Mill-Bern

Assocs., Inc. v. Dallas Semiconductor Corp., 2002 WL 1340853, at

*9 (Mass. Super. Ct. June 13, 2002), aff'd, 799 N.E.2d 606
(Mass. App. Ct. 2003). Because the Court finds that there is no
implied contract between the parties concerning the protection
of plaintiff’s PII and PHI, the claim for breach of the implied

covenant of good faith and fair dealing will be dismissed,

ORDER

For the reasons set forth above, defendant’s motion to
dismiss (Docket No. 6) is, with respect to injunctive remedies,

and Counts II, III and IV, ALLOWED, but is otherwise DENIED.

So ordered.

7 (ethene

Nathaniel M. Gorton
United States District Judge

Dated: March [5 , 2024

= $—
